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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 HULLEY ENTERPRISES LTD., et al.,

                         Petitioners,
                                                   Civil Action No. 14-1996 (BAH)
                         v.
                                                   Chief Judge Beryl A. Howell
 THE RUSSIAN FEDERATION,

                         Respondent.




                                             ORDER

          Upon consideration of the Respondent’s Motion to Stay, ECF No. 179, the related legal

memoranda in support and opposition, the exhibits and declarations attached thereto, and the

entire record herein, for the reasons set forth in the accompanying Memorandum Opinion, it is

hereby

          ORDERED that Respondent’s Motion to Stay, ECF No. 179, is GRANTED; and it is

further

          ORDERED that the Respondent’s Motion to Deny Confirmation of Arbitration Awards

Pursuant to New York Convention, ECF No. 23; the Respondent’s Motion to Dismiss the

Petition to Confirm Arbitration Awards for Lack of Subject Matter Jurisdiction, ECF No. 24; and

the Respondent’s Supplemental Motion to Dismiss the Petition to Confirm Arbitration Awards

Under the Foreign Sovereign Immunities Act and the New York Convention, ECF No. 108, are

STAYED until November 18, 2022, or until resolution of proceedings in the Dutch Supreme

Court to set aside the arbitral awards at issue (the “Set-Aside Proceedings”), whichever date

occurs earlier; and it is further
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       ORDERED that the parties will file, on May 20, 2021, and every six months thereafter, a

joint status report advising the Court of the status of the Set-Aside Proceedings in the Dutch

Supreme Court.

       SO ORDERED

       Date: November 20, 2020

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                                                     BERYL A. HOWELL
                                                     Chief Judge




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